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                                        County of Erie
                                   Local law No. ________
                                 Local Law Int. No. 4-1 (2011)

A local law in relation to the reapportionment of legislative districts in the County of Erie.

BE IT ENACTED BY THE LEGISLATURE OF ERIE COUNTY AS FOLLOWS:

Article 1
ERIE COUNTY AND ITS GOVERNMENT

Erie County Local Law Number one of nineteen hundred fifty-nine, constituting the Erie
County Charter as amended is hereby amended section one hundred five thereof, to
read as follows:

Section 105. Legislative districts. The County of Erie is hereby divided into eleven districts,
described as follows:

                                           District No. 1

All of the towns of Hamburg, Eden, and Evans.

                                           District No. 2

All of the Town of Orchard Park and City of Lackawanna and all that portion of the City of
Buffalo bounded and enclosed in the following descriptions: beginning at the point of
intersection of Amvets Drive and Porter Avenue, thence southerly along the centerline of
Amvets Drive to the center line of Jersey Street, thence easterly along the centerline of Jersey
Street to the center line of Interstate-190, thence southerly along the centerline of Interstate-190
to the center line of the center line of West Genesee Street, thence northerly along the
centerline of West Genesee Street to the center line of Elmwood Avenue, thence northerly
along the centerline of Elmwood Avenue to the center line of the center line of 7th Street, thence
northerly along the centerline of 7th Street to the center line of the center line of West Mohawk
Street, thence easterly along the centerline of West Mohawk Street to the center line of the
center line of Niagara Street, thence northerly along the centerline of Niagara Street to the
center line of the center line of Georgia Street, thence easterly along the centerline of Georgia
Street to the center line of the center line of Whitney Place, thence northerly along the centerline
of Whitney Place to the center line of the center line of Carolina Street, thence easterly along
the centerline of Carolina Street to the center line of the center line of Whitney Place, thence
northerly along the centerline of Whitney Place to the center line of the center line of Virginia
Street, thence easterly along the centerline of Virginia Street to the center line of the center line
of West Avenue, thence northerly along the centerline of West Avenue to the center line of
Hudson Street, thence easterly along the centerline of Hudson Street to the center line of Orton
Place, thence northerly along the centerline of Orton Place to the center line of Pennsylvania
Street, thence easterly along the centerline of Pennsylvania Street to the center line of
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Richmond Avenue, thence northerly along the centerline of Richmond Avenue to the center line
of Lexington Avenue, thence easterly along the centerline of Lexington Avenue to the center line
of Delaware Avenue, thence southerly along the centerline of Delaware Avenue to the center
line of Virginia Street, thence easterly along the centerline of Virginia Street to the center line of
Franklin Street, thence southerly along the centerline of Franklin Street to the center line of
Upper Terrace, thence southerly along the centerline of Upper Terrace to the center line of Main
Street, thence southerly along the centerline of Main Street to the center line of Buffalo River,
thence easterly along the centerline of Buffalo River to the center line of South Ogden Street,
thence southerly along the centerline of South Ogden Street to the center line of Mineral
Springs Road, thence westerly along the centerline of Mineral Springs Road to the center line of
Seneca Street, thence southerly along the centerline of Seneca Street to the center line of
Newman Place, thence southerly along the centerline of Newman Place to the center line of
Maywood Place, thence westerly along the centerline of Maywood Place to the center line of
Beyer Place, thence southerly along the centerline of Beyer Place to the center line of Willink
Avenue, thence easterly along the centerline of Willink Avenue to the center line of the City line,
thence easterly along the City line to the center line of Seneca Street, thence easterly along the
centerline of Seneca Street to the center line of the City line, thence southerly along the City line
to the center line of Potters Road, thence westerly along the centerline of Potters Road to the
center line of the City line, thence northerly along the City line to the center line of Cazenovia
Creek, thence southerly along Cazenovia Creek to the center line of Onondaga Avenue, thence
southerly along the centerline of Onondaga Avenue to the center line of Dorrance Avenue,
thence westerly along the centerline of Dorrance Avenue to the center line of Baltimore and
Ohio Railroad, thence easterly along the centerline of Baltimore and Ohio Railroad to the center
line of South Park Avenue, thence southerly along the centerline of South Park Avenue to the
center line of Nason Parkway, thence westerly along the centerline of Nason Parkway to the
center line of Ridge Road, thence westerly along the centerline of Ridge Road to the center line
of Penn Central Railroad, thence northerly along the City line to the center line of Lake Erie,
thence northerly along the centerline of Lake Erie to the point of beginning..

                                           District No. 3

All of the towns of Alden, Aurora, Boston, Brant (including the Erie County portion of the
Cattaraugus Reservation), Colden, Collins, Concord, Holland, Newstead (including the Erie
County portion of the Tonawanda Reservation), North Collins, Marilla, Sardinia, and Wales.

                                           District No. 4

All of the towns of Elma and West Seneca and all that portion of the City of Buffalo bounded and
enclosed in the following descriptions: beginning at the point of intersection of Franklin Street
and Upper Terrace, thence northerly along the centerline of Franklin Street to the center line of
Washington Street, thence southerly along the centerline of Washington Street to the center line
of Clinton Street, thence easterly along the centerline of Clinton Street to the center line of Oak
Street, thence southerly along the centerline of Oak Street to the center line of Swan Street,
thence westerly along the centerline of Swan Street to the center line of Oak Street, thence
southerly along the centerline of Oak Street to the center line of Exchange Street, thence
easterly along the centerline of Exchange Street to the center line of Griffin Street, thence
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northerly along the centerline of Griffin Street to the center line of Seneca Street, thence
easterly along the centerline of Seneca Street to the center line of Fillmore Avenue, thence
northerly along the centerline of Fillmore Avenue to the center line of Smith Street, thence
northerly along the centerline of Smith Street to the center line of Howard Street, thence
easterly along the centerline of Howard Street to the center line of Penn Central Railroad,
thence northerly along the centerline of Penn Central Railroad to the center line of Fillmore
Avenue, thence northerly along the centerline of Fillmore Avenue to the center line of Broadway,
thence easterly along the centerline of Broadway to the center line of the City line, thence
southerly along the City line to the center line of Willink Avenue, thence westerly along the
centerline of Willink Avenue to the center line of Beyer Place, thence northerly along the
centerline of Beyer Place to the center line of Maywood Place, thence easterly along the
centerline of Maywood Place to the center line of Newman Place, thence westerly along the
centerline of Newman Place to the center line of Seneca Street, thence westerly along the
centerline of Seneca Street to the center line of Mineral Springs Road, thence easterly along the
centerline of Mineral Springs Road to the center line of South Ogden Street, thence northerly
along the centerline of South Ogden Street to the center line of Buffalo River, thence along the
centerline of the Buffalo River to the center line of Main Street, thence northerly along the
centerline of Main Street to the center line of Upper Terrace, thence westerly along the
centerline of Upper Terrace to the point of beginning..

                                         District No. 5

All that portion of the Town of Cheektowaga enclosed in the following descriptions: beginning at
the point of intersection of Cochrane Street and Clinton Street, thence northerly along the Town
line to the center line of Walden Avenue, thence easterly along the centerline of Walden Avenue
to the center line of Pine Ridge Heritage Boulevard, thence northerly along the centerline of
Pine Ridge Heritage Boulevard to the center line of Kensington Expressway, thence easterly
along the centerline of Kensington Expressway to the center line of Harlem Road, thence
northerly along the centerline of Harlem Road to the center line of the Town line, thence easterly
along the Town line to the center line of Transit Road, thence southerly along the Town line to
the center line of Depew Village line, thence westerly along the Depew Village line to the center
line of Homeworth Parkway, thence southerly along the centerline of Homeworth Parkway to the
center line of Dick Road, thence southerly along the centerline of Dick Road to the center line of
Broadway, thence easterly along the centerline of Broadway to the center line of Indian Road,
thence westerly along the centerline of Indian Road to the center line of Rowley Road, thence
easterly along the centerline of Rowley Road to the center line of Borden Road, thence
southerly along the centerline of Borden Road to the center line of Zurbrick Road, thence
easterly along the centerline of Zurbrick Road to the center line of Transit Road, thence
southerly to the center line of Town line, thence westerly along the Town line to the point of
beginning..

And also all that portion of the Town of Amherst enclosed in the following descriptions:
beginning at the point of intersection of the Interstate-90 and Youngs Road, thence northerly
along the centerline of Youngs Road to the center line of Klein Road, thence easterly along the
centerline of Klein Road to the center line of Paradise Road, thence northerly along the
centerline of Paradise Road to the center line of Halston Parkway, thence easterly along the
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centerline of Halston Parkway to the center line of Hobnail Drive, thence southerly along the
centerline of Hobnail Drive to the center line of Hunt Club Circle, thence easterly along the
centerline of Hunt Club Circle to the center line of Transit Road, thence southerly along the
centerline of Transit Road to the center line of Town line, thence westerly along the Town line to
the point of beginning..

                                          District No. 6

All of the towns of Clarence, Lancaster and all that portion of the Town of Amherst that is
bounded and enclosed in the following descriptions: beginning at the point of intersection of
Klein Road and Chapel Woods, thence northerly along the centerline of Chapel Woods to the
center line of Stony Brook Lane, thence northerly along the centerline of Stony Brook Lane to
the center line of Crown Point Lane, thence easterly along the centerline of Crown Point Lane to
the center line of Brandywine Drive, thence northerly along the centerline of Brandywine Drive
to the center line of Deer Run, thence easterly along the centerline of Deer Run to the center
line of Roxbury Park, thence northerly along the centerline of Roxbury Park to the center line of
Wellingwood Drive, thence easterly along the centerline of Wellingwood Drive to the center line
of Paradise Road, thence northerly along the centerline Paradise Road to the center line of
Casey Road, thence westerly along the centerline of Casey Road to the center line of Mill Valley
Drive, thence northerly along the centerline of Mill Valley Drive to the center line of San
Fernando Lane, thence northerly along the centerline of San Fernando Lane to the center line of
Vicente Lane, thence westerly along the centerline of Vicente Lane to the center line of Crystal
Springs Lane, thence northerly along the centerline of Crystal Springs Lane to the center line of
North French Road, thence easterly along the centerline of North French Road to the center line
of Autumn Creek Court, thence southerly along the centerline of Autumn Creek Court to the
center line of Running Brook Lane, thence southerly along the centerline of Running Brook Lane
to the center line of South Castlerock Lane, thence easterly along the centerline of South
Castlerock Lane to the center line of Deercreek Lane, thence easterly along the centerline of
Deercreek Lane to the center line of Transit Road, thence southerly along the Town line to the
center line of Hunt Club Circle, thence westerly along the centerline of Hunt Club Circle to the
center line of Hobnail Drive, thence northerly along the centerline of Hobnail Dive to the center
line of Halston Parkway, thence westerly along the centerline of Halston Parkway to the center
line of Paradise Road, thence southerly along the centerline of Paradise Road to the center line
of Klein Road, thence southerly along the centerline of Klein Road to the point of beginning..

And also that portion of the Town of Cheektowaga that is bounded and enclosed in the following
descriptions: beginning at the point of intersection of Homeworth Parkway and Dick Road,
thence northerly along the centerline of Homeworth Parkway to the center line of Meadowlawn
Road, thence easterly along the centerline of Meadowlawn Road to the center line of Sable
Palm Drive, thence easterly along the Depew Village line thereafter, thence northerly along the
unbroken Depew Village line to the center line of Rehm Road, thence easterly along the
centerline of Rehm Road to the center line of Depew Village line, thence easterly along the
Depew Village line to the center line of Transit Road, thence southerly along the centerline of
Transit Road to the center line of Zurbrick Road, thence westerly along the centerline of
Zurbrick Road to the center line of Borden Road, thence northerly along the centerline of
Borden Road to the center line of Rowley Road, thence westerly along the centerline of Rowley
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Road to the center line of Indian Road, thence northerly along the centerline of Indian Road to
the center line of Broadway, thence westerly along the centerline of Broadway to the center line
of Dick Road, thence northerly along the centerline of Dick Road to the point of beginning..

                                           District No. 7

All that portion of the City of Buffalo that is bounded and enclosed in the following descriptions:
beginning at the point of intersection of Hertel Avenue and Colvin Avenue, thence easterly along
the centerline of Hertel Avenue to the center line of Starin Avenue, thence southerly along the
centerline of Starin Avenue to the center line of Huntington Avenue, thence easterly along the
centerline of Huntington Avenue to the center line of Parker Avenue, thence northerly along the
centerline of Parker Avenue to the center line of Hertel Avenue, thence easterly along the
centerline of Hertel Avenue to the center line of Shoshone Street, thence northerly along the
centerline of Shoshone Street to the center line of Erie-Lackawanna Railroad, thence westerly
along the centerline of Erie-Lackawanna Railroad to the center line of Starin Avenue, thence
northerly along the centerline of Starin Avenue to the center line of Kenmore Avenue, thence
easterly along the City line to the center line of Eggert Road, thence southerly along the
centerline of the City line to the center line of Winspear Avenue, thence westerly along the
centerline of Winspear Avenue to the center line of Main Street, thence southerly along the
centerline of Main Street to the center line of Jewett Parkway, thence westerly along the
centerline of Jewett Parkway to the center line of Parkside, thence northerly along the centerline
of Parkside to the center line of Amherst Street, thence westerly along the centerline of Amherst
Street to the center line of Colvin Avenue, thence northerly along the centerline of Colvin to the
center line of the beginning point.

And also all that portion of the Town of Amherst that is bounded and enclosed in the following
descriptions: beginning at the point of intersection, Kenmore Avenue, and Niagara Falls
Boulevard, thence northerly along the centerline of Niagara Falls Boulevard to the center line of
Interstate-290, thence easterly along the centerline of Interstate-290 to the center line of
Interstate-990, thence easterly along the centerline of Interstate-990 to the center line of Sweet
Home Road, thence northerly along the centerline of Sweet Home Road to the center line of
North French Road, thence easterly along the centerline of North French Road to the center line
of Campbell Boulevard, thence southerly along the centerline of Campbell Boulevard to the
center line of Stahl Road, thence southerly along the centerline of Stahl Road to the center line
of North Forest Road, thence easterly along the centerline of North Forest Road to the center
line of West Klein Road, thence easterly along the centerline of West Klein Road to the center
line of Klein Road, thence easterly along the centerline of Klein Road to the center line of
Youngs Road, thence southerly along the centerline of Youngs Road to the center line of
Interstate-90, thence westerly along the centerline of Interstate-90 to the center line of Town
line, thence westerly along the Town line to the point of beginning..

                                           District No. 8

All that portion of the City of Buffalo that is bounded and enclosed in the following descriptions:
beginning at the intersection of the Peace Bridge Plaza and the Buffalo River, thence northerly
along the centerline of the Buffalo River inclusive of Squaw Island to the center line of Vulcan
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Street, thence easterly along the centerline of Vulcan Street to the center line of the CSX
Railroad, thence southerly along the centerline of the CSX Railroad to the center line of the
Penn Central Railroad, thence easterly along the centerline of the Penn Central Railroad to the
center line of Elmwood Avenue, thence southerly along the centerline of Elmwood Avenue to
the center line of the Scajaquada Expressway, thence westerly along the centerline of the
Scajaquada Expressway to the center line of Grant Street, thence southerly along the centerline
of Grant Street to the center line of Forest Avenue, thence easterly along the centerline of
Forest Avenue to the center line of Hoyt Street, thence southerly along the centerline of Hoyt
Street to the center line of West Ferry Street, thence easterly along the centerline of West Ferry
Street to the center line of Delaware Avenue, thence northerly along the centerline of Delaware
Avenue around the western side of Gates Circle to the center line of West Delavan Avenue,
thence easterly along the centerline of West Delavan Avenue to the center line of Main Street,
thence northerly along the centerline of Main Street to the center line of Kensington Avenue,
thence easterly along the centerline of Kensington Avenue to the center line of Fillmore Avenue,
thence southerly along the centerline of Fillmore Avenue to the center line of Box Avenue,
thence along the centerline of Box Avenue to the center line of Kehr Street, thence southerly
along the centerline of Kehr Street to the center line of Genesee Street, thence westerly along
the centerline of Genesee to the center line of Fillmore Avenue, thence southerly along the
centerline of Fillmore Avenue to the center line of the CSX Railroad, thence westerly along the
centerline of the CSX Railroad to the center line of Howard Street, thence along the centerline
of Howard Street to the center line of Smith Street, thence westerly along the centerline of
Seneca Street to the center line of Griffin Street, thence southerly along the centerline of Griffin
Street to the center line of Exchange Street, thence westerly along the centerline of Exchange
Street to the center line of Oak Street, thence northerly along the centerline of Oak Street to the
center line of Clinton Street, thence westerly along the centerline of Clinton Street to the center
line of Washington Street, thence northerly along the centerline of Washington Street to the
center line of West Huron Street, thence westerly along the centerline of West Huron Street to
the center line of Franklin Street, thence northerly along the centerline of Franklin Street to the
center line of Cottage Street, thence westerly along the centerline of Cottage Street to the
center line of Delaware Avenue, thence northerly along the centerline of Delaware Avenue to
the center line of Lexington Avenue, thence westerly along the centerline of Lexington Avenue
to the center line of Richmond Avenue, thence southerly along the centerline of Richmond
Avenue to the center line of Pennsylvania Street, thence westerly along the centerline of
Pennsylvania Street to the center line of Orton Place, thence easterly along the centerline of
Orton Place to the center line of Hudson Street, thence westerly along the centerline of Hudson
Street to the center line of West Avenue, thence westerly along the centerline of West Avenue
to the center line of Virginia Street, thence easterly along the centerline of Virginia Street to the
center line of Whitney Place, thence easterly along the centerline of Whitney Place to the center
line of Georgia Street, thence westerly along the centerline of Georgia Street to the center line
of Niagara Street, thence southerly along the centerline of Niagara Street to the center line of
West Mohawk Street, thence westerly along the centerline of West Mohawk Street to the center
line of 7th Street, thence southerly along the centerline of 7th Street to the center line of Elmwood
Street, thence southerly along the centerline of Elmwood Street to the center line of Virginia
Street, thence westerly along the centerline of Virginia Street to the center line of the Interstate-
90, thence northerly along the centerline of Interstate-90 to the center line of Jersey Street,
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thence along the centerline of Jersey Street to the center line of Buffalo River, thence along the
centerline of Buffalo River to the center line of point of beginning.

                                           District No. 9

All that portion of the City of Buffalo that is bounded and enclosed in the following descriptions:
beginning at the intersection of Grant Street and the Squajaquada Expressway, thence easterly
along the centerline of the Squajaquada Expressway to the center line of Elmwood Avenue,
thence along the centerline of Elmwood Avenue to the center line of Forest Avenue, thence
easterly along the centerline of Forest Avenue to the center line of Delaware Avenue, thence
northerly along the centerline of Delaware Avenue to the center line of Hertel Avenue, thence
easterly along the centerline of Hertel Avenue to the center line of Colvin Boulevard, thence
southerly along the centerline of Colvin Boulevard to the center line of Amherst Street, thence
easterly along the centerline of Amherst Street to the center line of Parkside Avenue, thence
southerly along the centerline of Parkside Avenue to the center line of Jewett Parkway, thence
easterly along the centerline of Jewett Parkway to the center line of Main Street, thence
northerly along the centerline of Main Street to the center line of Winspear Avenue, thence
along the centerline of Winspear Avenue to the center line of the City line, thence along the City
line easterly to the center line of eastern City border, thence southerly along the City line to the
center line of Broadway, thence westerly along the centerline of Broadway to the center line of
Fillmore Avenue, thence northerly along the centerline of Fillmore Avenue to the center line of
Genesee Street, thence easterly along the centerline of Genesee Street to the center line of
Kehr Street, thence northerly along the centerline of Kehr Street to the center line of Box
Avenue, thence westerly along the centerline of Box Avenue to the center line of Fillmore
Avenue, thence northerly along the centerline of Fillmore Avenue to the center line of
Kensington Avenue, thence westerly along the centerline of Kensington Avenue to the center
line of Main Street, thence southerly along the centerline of Main Street to the center line of
West Delavan Avenue to the center line of Delaware Avenue, thence along the centerline of
Delaware Avenue around the western side of Gates Circle to the center line of West Ferry
Street, thence westerly along the centerline of West Ferry Street to the center line of Hoyt
Street, thence northerly along the centerline of Hoyt Street to the center line of Forest Avenue,
thence westerly along the centerline of Forest Avenue to the center line of Grant Street, thence
along the centerline of Grant Street to the center line of point of beginning.

                                          District No. 10

All of the Town of Grand Island the City of Tonawanda, and all that portion of the Town of
Tonawanda that is bounded and enclosed in the following descriptions: beginning at the
intersection of Military Road and the Interstate-290, thence northerly along the centerline of
Military Road to the center line of the Town line, thence easterly along the Town line to the
center line of Tonawanda Creek, thence along the centerline of the Tonawanda Creek to the
center line of the Town line, thence easterly along the Town line to the center line of Glenalby
Road, thence westerly along the centerline of Glenalby Road to the center line of Rockland
Road, thence southerly along the centerline of Rockland Road to the center line of Eggert Road,
thence northerly along the centerline of Eggert Road to the center line of Twin Cities Memorial
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Highway, thence northerly to the center line of the Interstate-290, thence westerly along the
centerline of the Interstate-290 to the point of beginning.

And also all that portion of the Town of Amherst that is bounded and enclosed in the following
descriptions: Beginning at the intersection of the Tonawanda Creek and Tonawanda Creek
Road, thence northerly along the centerline of Tonawanda Creek to the center line of Transit
Road, thence southerly along the Town line to the center line of Deercreek Lane, thence
westerly along the centerline of Deercreek Lane to the center line of South Castlerock Lane,
thence westerly along the centerline of South Castlerock Lane to the center line of Running
Brook Lane, thence northerly along the centerline of Running Brook Lane to the center line of
Autumn Creek Court, thence northerly along the centerline of Autumn Creek Court to the center
line of North French Road, thence westerly along the centerline of North French Road to the
center line of Crystal Spring Lane, thence southerly along the centerline of Crystal Spring Lane
to the center line of Vicente Lane, thence easterly along the centerline of Vicente Lane to the
center line of San Fernando Lane, thence southerly along the centerline of San Fernando Lane
to the center line of Mill Valley Drive, thence southerly along the centerline of Mill Valley Drive to
the center line of Casey Road, thence easterly along the centerline of Casey Road to the center
line of Paradise Road, thence southerly along the centerline of Paradise Road to the center line
of Wellingwood Drive, thence westerly along the centerline of Wellingwood Drive to the center
line of Roxbury Park, thence southerly along the centerline of Roxbury Park to the center line of
Deer Run, thence westerly along the centerline of Deer Run to the center line of Brandywine
Drive, thence southerly along the centerline of Brandywine Drive to the center line of Crown
Point Lane, thence westerly along the centerline of Crown Point Lane to the center line of Stony
Brook Lane, thence southerly along the centerline of Stony Brook Lane to the center line of
Chapel Woods, thence southerly along the centerline of Chapel Woods to the center line of
Klein Road, thence westerly along the centerline of Klein Road to the center line of West Klein
Road, thence westerly along the centerline of West Klein Road to the center line of North Forest
Road, thence northerly along the centerline of North Forest Road to the center line of Stahl
Road, thence northerly along the centerline of Stahl Road to the center line of Campbell
Boulevard, thence northerly along the centerline of Campbell Boulevard to the center line of
North French Road, thence westerly along the centerline of North French Road to the center
line of Sweet Home Road, thence southerly along the centerline of Sweet Home Road to the
center line of Interstate-990, thence westerly along the centerline of Interstate-990 to the center
line of Interstate-290, thence northerly along the centerline of Interstate-290 to the center line of
Niagara Falls Boulevard, thence northerly along the Town Line to the center line of Tonawanda
Creek, thence northerly along the centerline of Tonawanda Creek to the point of beginning.

                                         DISTRICT NO. 11

All that portion of the Town of Tonawanda that is bounded and enclosed in the following
descriptions: beginning at the point of intersection of Niagara River and Town line, thence
easterly along the Town line to the center line of Military Road, thence southerly along the
centerline of Military Road to the center line of Interstate-290, thence easterly along the
centerline of Interstate-290 to the center line of Twin Cities Memorial Highway, thence southerly
along the centerline of Twin Cities Memorial Highway to the center line of Eggert Road, thence
southerly along the centerline of Eggert Road to the center line of Rockland Road, thence
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northerly along the centerline of Rockland Road to the center line of Glenalby Road, thence
easterly along the centerline of Glenalby Road to the center line of Niagara Falls Boulevard,
thence southerly along the Town line to the center line of Kenmore Avenue, thence along the
Town line to the center line of Niagara River, thence northerly to the center line of point of
beginning.

And also that portion of the City of Buffalo that is bounded and enclosed in the following
descriptions: beginning at the intersection of the CSX Railroad and the Penn Central Railroad,
thence northerly along the centerline of the CSX Railroad to the center line of the City line,
thence along the City line to the center line of Starin Avenue, thence southerly along the
centerline of Starin Avenue to the center line of the Erie-Lackawanna Railroad, thence easterly
along the centerline of the Erie-Lackawanna Railroad to the center line of Shoshone Street Bike
Path, thence southerly along the centerline of Shoshone Street Bike Path to the center line of
Shoshone Street, thence southerly along the centerline of Shoshone Street to the center line of
Hertel Avenue, thence westerly along the centerline of Hertel Avenue to the center line of
Parker Avenue, thence southerly along the centerline of Parker Avenue to the center line of
Huntington Avenue, thence westerly along the centerline of Huntington Avenue to the center
line of Starin Avenue, thence northerly along the centerline of Starin Avenue to the center line of
Hertel Avenue, thence westerly along the centerline of Hertel Avenue to the center line of
Delaware Avenue, thence southerly along the centerline of Delaware Avenue to the center line
of Forest Avenue, thence westerly along the centerline of Forest Avenue to the center line of
Elmwood Avenue, thence northerly along the centerline of Elmwood Avenue to the center line of
CSX Railroad, thence westerly along the centerline of CSX Railroad to the point of beginning.

Section 105 amended by local law No. 3-2006.
Section 105 amended by local law No. 4-2002.
Section 105 amended by local law No. 2 1991.
Section 105 amended by local law No. 3-1981.
Section 105 amended by local law No. 6-1971.
Section 105 amended by local law No. 1 1967.

Section 106. Legislative districts, continued. The fifteen legislative districts as previously
bounded and described by local law No. 3-2006, shall continue as such for the limited purpose
of continuing in office the legislators presently elected from said districts and shall cease to the
center line of exist as such on January 1, 2012. For the purpose of the general election of 2011
and all other purposes, except as herein before provided, the County of Erie is divided into
eleven districts, described as contained in section one hundred five herein.

                                           SPONSORS:
                                         Betty Jean Grant
                                         Maria R. Whyte
                                         Thomas J. Mazur
                                          Lynn Marinelli
                                       Thomas A. Loughran
                                          Daniel Kozub
                                        Timothy J. Whalen
